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testified that the following week, Dilkinska told him that “she had to stay [at the meeting] a long
time . . . until Mark Scott understood everything that has to be done or he has to do.” (Tr. at 246-
47).

         This was simply a lie. E-mails from the Government’s production provided clear and
compelling evidence that Dilkinska was not even in Bulgaria at the time of the meeting in
question. Specifically, on Sunday, July 17, 2016, Dilkinska emailed Mr. Scott saying that she
was “traveling for the whole week,” referencing the upcoming week. (See Dkt. 176, DX 550).
On Wednesday, July 20, 2016, the date of the Sofia meeting at which Konstantin had falsely
testified Dilkinska had participated (Tr. at 243-44), she emailed Mr. Scott, “I am traveling too.”
(See Dkt. 176, DX 552). Despite evidence that the Government’s sole witness from OneCoin
who met Mr. Scott during the conspiracy lied to the jury about the single meeting he had with
Mr. Scott, the Government disappointingly objected to Mr. Scott’s efforts to correct the record
through the introduction of these e-mails, and the Court ruled – wrongly, we respectfully submit
– that those e-mails were inadmissible hearsay. (See Dkt. 176; Tr. at 398, 1292). At that time,
counsel for Mr. Scott argued that “casting doubt on whether Ms. Dilkinska was in fact at the
meeting is highly relevant both to the credibility of the sole cooperating witness and to the
evidentiary significance of the meeting itself.” (Dkt. 176). 3 This remains the case. Indeed, the
laptop that Konstantin returned to OneCoin – and then perjured himself about – could have
contained additional evidence establishing that his testimony about Dilkinska’s presence at the
meeting was also false.
The Appropriate Remedy is a New Trial

        To succeed on a Rule 33 motion based on newly discovered evidence of perjury, a
defendant must “pass two threshold inquiries—he must present some newly discovered evidence
and must prove that ‘the witness in fact committed perjury.’” United States v. Bourke, 488 F.
App’x 528, 529 (2d Cir. 2012) (quoting United States v. Stewart, 433 F.3d 273, 297 (2d Cir.
2006)). Thus, a Rule 33 motion on this basis must satisfy four elements: “(1) ‘the newly
discovered evidence could not with due diligence have been discovered before or during trial’;
(2) ‘the evidence demonstrates that the witness in fact committed perjury’; (3) ‘the newly
discovered evidence [is] material’; and (4) the newly discovered evidence is not cumulative.”
United States v. Bout, 144 F. Supp. 3d 477, 484 (S.D.N.Y. 2015) (quoting United States v. White,
972 F.2d 16, 20-21 (2d Cir. 1992)).

       Mr. Scott satisfies each of those four prongs here, and requests a hearing to further
develop the record should that be necessary.

         First, the newly discovered evidence clearly could not have been discovered before or
during trial.                              was not in contact with defense counsel and had not –
at least according to the produced § 3500 material the Government provided for him – ever told


3
  Pursuant to Brady and Giglio, we asked the Government during trial for any evidence in its
possession tending to show that Dilkinska was not in Sofia on July 20, 2016, and we reiterate
that request here.


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        Newly discovered evidence of perjury that raises questions about the credibility of a key
witness, “[g]iven the importance of this single credibility determination,” satisfies the third and
fourth prongs. Alvarez, 808 F. Supp. at 1093 (finding the newly discovered evidence material
and not merely cumulative). While “merely additional evidence tending to undermine the
credibility of [the witness] for reasons already before the jury” does not satisfy this prong, id. at
1092 (quoting United States v. Petrillo, 821 F.2d 85, 89 (2d Cir. 1987)), where “[t]he jury's
estimate of the truthfulness and reliability of a given witness may be determinative of guilt or
innocence[,] . . . new evidence may not be ‘merely cumulative or impeaching,’ but critical.” Id.
(quoting Napue v. Illinois, 360 U.S. 264, 271 (1959)); see also United States v. Wallach, 935
F.2d 445, 458 (2d Cir. 1991) (quoting same).

         Konstantin did not simply perjure himself in testimony related to some ancillary matter.
Konstantin portrayed the image of a man remorseful for his actions who was committed to
telling the jury the truth as part of his cooperation agreement. Had the jury known that
Konstantin merely feigned taking responsibility for his falsehoods and continued to dissemble
during the very testimony where he admitted to lying, it “would have exerted a compelling
impact on his credibility as to the unsubstantiated aspects of his testimony.” Alvarez, 808 F.
Supp. at 1093 (quoting Seijo, 514 at 1363-64)’ see also IV.B.3 infra. See United States v.
Stofsky, 527 F.2d 237, 246 (2d Cir 1975) (“[T]he court should decide whether the jury probably
would have altered its verdict if it had had the opportunity to appraise the impact of the newly-
discovered evidence [of witness perjury] not only upon the factual elements of the government's
case but also upon the credibility of the government's witness.”)

       Konstantin’s credibility was particularly crucial as he was the sole alleged co-conspirator
who testified against Mr. Scott. His testimony consisted largely of hearsay claims of what other
alleged co-conspirators said about Mr. Scott, 5 individuals who Mr. Scott could not themselves
cross-examine, placing great weight on whether Konstantin was truthfully relaying this hearsay.
Konstantin’s testimony about Mr. Scott’s supposed meeting with Dilkinska —unsupported and
indeed contradicted by documentation the jury did not have the opportunity consider—was
likewise particularly inculpatory.

         In short, the jury’s estimate of Konstantin’s “truthfulness and reliability” was
“determinative of [Mr. Scott’s] guilt or innocence.” Alvarez, 808 F. Supp. at 1092. The newly
discovered evidence of Konstantin’s perjury is “not ‘merely cumulative or impeaching,’ but
critical.” Id. (quoting Napue, 360 U.S. at 271); see also Wallach, 935 F.2d at 458 (“Despite the
presence of other impeaching material during the trial the disclosure of the witness’ false
statement would have had a tremendous impact on the jury’s credibility assessment of the
witness.”) (quoting Seijo, 514 F.2d at 1364). A new trial is therefore warranted.




5
 For example, Konstantin testified that “Irina told me … that Mark Scott is in charge of Fenero,
and I learned that Fenero is one of the entities that is in charge of the money laundering.” (Tr. at
272).; “[Irina] said that for the risk he took, he got paid a lot of money. . . . “[A]t that time, I
knew that Mark Scott was laundering money for Ruja and OneCoin.” (Tr. at 295).

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At Minimum, An Evidentiary Hearing Is Required

         While a new trial is warranted on the existing record, the Court should at minimum order
an evidentiary hearing on the motion and order Konstantin and             to appear at such a
hearing. The Government should also be directed to explain in advance of any such hearing (1)
what it learned from               (or any other source) with respect to whether Konstantin
testified falsely and (2) why it did not disclose this exculpatory evidence to Mr. Scott. As noted
above,          reported that Konstantin had testified falsely to                  of DANY,
which jointly investigated this matter with the USAO-SDNY and whose own ADA, Juliana
Lozano, tried the case with the USAO-SDNY as a SAUSA. The Government should be required
to make            available at the hearing for testimony.

        Finally, the Government should be directed to produce in advance of any hearing (1) all
documents relating to the laptop in question, including documents relating to its initial seizure
and return; (2) all documents or other information bearing on Konstantin’s credibility, including
but not limited to any material relating to the truthfulness of Konstantin’s testimony about the
destruction of the laptop and Irina Dilkinska’s presence at the July 20, 2016 meeting in Sofia.

        The hearing should also address factual issues necessary to resolve other aspects of Mr.
Scott’s post-trial motions, which remain pending. Mr. Scott sought a judgment of acquittal on
the money laundering count under Rule 29 on the grounds that that the Government failed to
establish either the existence of a wire fraud scheme with sufficient U.S. nexus or that funds
from any U.S. victims of such a wire fraud scheme were transferred to the Fenero Funds and that
crucial evidence provided by the Government was at best unreliable. (Dkts. 218, 275). On April
21, 2020, only after a written request for posttrial discovery by Mr. Scott, the Government
produced records demonstrating that it had not even collected many bank records central to Mr.
Scott’s case, which calls into serious question testimony by the Government’s financial analyst,
Rosalind October that she prepared summary charts based on financial analysis that she
conducted. (Tr. at 1549; Dkt. 345, Ex. A (the “Gannaway Declaration”). Mr. Scott seeks an
opportunity to question Ms. October about her testimony on these issues, which is likewise
relevant to the pending forfeiture motions. (See Dkts. 318, 345).




                                                                   Respectfully submitted,



                                                                   /s/ Arlo Devlin-Brown
                                                                   Arlo Devlin-Brown




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